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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: July 20, 2023.

                                                             __________________________________
                                                                     SHAD M. ROBINSON
                                                             UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   In re:                                       §
                                                §       Case No. 23-10164-smr
   ASTRALABS, INC.,                             §
                                                §       Chapter 7
             Debtor.                            §

                        CONFIDENTIALITY AND PROTECTIVE ORDER

            Before the court is the Joint Motion for Entry of Confidentiality and Protective Order

  (“Protective Order”). After careful consideration, it is hereby ORDERED as follows:

            1.     Classified Information

            “Classified Information” means any information of any type, kind, or character that is

  designated as “Confidential,” “For Counsel Only,” or “Attorneys Eyes Only” by any of the

  supplying or receiving persons, whether it be a document, information contained in a document,

  information revealed during a deposition, information revealed in an interrogatory answer, or

  otherwise.

            2.     Qualified Persons

            “Qualified Persons” means:


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           a.       For Counsel or Attorneys Only information:

                  i.       retained counsel for the parties in this case and their respective staff;

                ii.        actual or potential independent experts or consultants (and their
                           administrative or clerical staff) engaged in connection with this case (which
                           shall not include the current employees, officers, members, or agents of
                           parties or affiliates of parties) who, prior to any disclosure of Classified
                           Information to such person, have signed a document agreeing to be bound
                           by the terms of this Protective Order (such signed document to be
                           maintained by the attorney retaining such person) and have been designated
                           in writing by notice to all counsel;

                iii.       this court and its staff and any other tribunal or dispute resolution officer
                           duly appointed or assigned in connection with this case;

                iv.        the United States Trustee and any representatives thereof.

           b.       For Confidential information:

                  i.       the persons identified in subparagraph 2(a);

                ii.        the party, if a natural person;

                iii.       if the party is an entity, such trustees, officers, directors, managers or
                           employees of the party who are actively involved in the prosecution or
                           defense of this case. All such persons must be provided a copy of this
                           Protective Order prior to receiving any disclosure of Confidential
                           information and are deemed to have agreed to be bound by the terms of this
                           Protective Order. Each such receiving party shall be responsible for the
                           compliance of its permitted trustees, officers, directors, managers,
                           employees or agents with the terms and provisions of this Order;

                iv.        litigation vendors, court reporters and other litigation or bankruptcy support
                           personnel;

                 v.        any person who was an author, addressee, or intended or authorized
                           recipient of the Confidential information and who agrees to keep the
                           information confidential, provided that such persons may see and use the
                           Confidential information but not retain a copy.

           c.       Such other person as this court may designate after notice and an opportunity to be

  heard.




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             3.         Designation Criteria

             a.         Nonclassified Information. Classified Information shall not include information

  that either:

                    i.         is in the public domain at the time of disclosure, as evidenced by a written
                               document;

                  ii.          becomes part of the public domain through no fault of the recipient, as
                               evidenced by a written document;

                  iii.         the receiving party can show by written document was in its rightful and
                               lawful possession at the time of disclosure; or

                  iv.          lawfully comes into the recipient’s possession subsequent to the time of
                               disclosure from another source without restriction as to disclosure, provided
                               such third party has the right to make the disclosure to the receiving party.

             b.      Classified Information. A party shall designate as Classified Information only such

  information that the party in good faith believes in fact is confidential. Information that is

  generally available to the public, such as public filings, catalogues, advertising materials, and the

  like, shall not be designated as Classified.

             Information and documents that may be designated as Classified Information include, but

  are not limited to, trade secrets, confidential or proprietary financial information, operational data,

  business plans, and competitive analyses, personnel files, personal information that is protected by

  law, and other sensitive information that, if not restricted as set forth in this order, may subject the

  producing or disclosing person to competitive or financial injury or potential legal liability to third

  parties.

             c.      For Counsel or Attorneys Only. The designation “For Counsel Only” or “Attorneys

  Eyes Only” shall be reserved for information that is believed to be unknown to the opposing party

  or parties, or any of the employees of a corporate party. For purposes of this order, so-designated

  information includes, but is not limited to, product formula information, design information, non-



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  public financial information, pricing information, customer identification data, and certain study

  methodologies.

         d.      Ultrasensitive Information. At this point, the parties do not anticipate the need for

  higher levels of confidentiality as to ultrasensitive documents or information. However, in the

  event that a court orders that ultrasensitive documents or information be produced, the parties will

  negotiate and ask the court to enter an ultrasensitive information protocol in advance of production

  to further protect such information.

         4.      Use of Classified Information

         All Classified Information provided by any party or nonparty in the course of this case shall

  be used solely for the purpose of preparation, trial, and appeal of matters at issue in this case,

  including any adversary proceeding, or as subsequently permitted by the Bankruptcy Court or by

  another court of competent jurisdiction following reasonable advance notice to the Trustee, and

  for no other purpose, and shall not be disclosed except in accordance with the terms hereof.

         Mr. Nihar Patel has requested that the Trustee disclose to Mr. Patel, as the Debtor’s

  representative, certain information and records belonging to the Estate, in order to allow and

  facilitate Mr. Patel’s efforts to assist the Debtor in performing its obligations to file further

  bankruptcy schedules in compliance with Fed. R. Bankr. P. 1019, and to respond to questioning at

  any further meeting held pursuant to section 341 of the Bankruptcy Code. By the Trustee’s

  agreement, Mr. Patel may utilize and disclose such information solely for the purpose of preparing

  or attesting to the Debtor’s bankruptcy schedules in compliance with Fed. R. Bankr. P. 1019, as

  well as to testify under oath at any meeting held in the case pursuant to section 341 of the

  Bankruptcy Code, without violating or impacting any designation by the Trustee of any such

  information as “Confidential,” “For Counsel Only,” or “Attorneys Eyes Only.”




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         5.      Marking of Documents

         Documents provided in this case may be designated by the producing person or by any

  party as Classified Information by marking each page of the documents so designated with a stamp

  indicating that the information is “Confidential,” “For Counsel Only,” or “Attorneys Eyes Only.”

  In lieu of marking the original of a document, if the original is not provided, the designating party

  may mark the copies that are provided. Originals shall be preserved for inspection.

         6.      Disclosure at Depositions

         Information disclosed at (a) the deposition of a party or one of its present or former officers,

  directors, employees, agents, consultants, representatives, or independent experts retained by

  counsel for the purpose of this case, or (b) the deposition of a nonparty, may be designated by any

  party as Classified Information by indicating on the record at the deposition that the testimony is

  “Confidential” or “For Counsel Only” and is subject to the provisions of this Order.

         Any party also may designate information disclosed at a deposition as Classified

  Information by notifying all parties in writing not later than 30 days of receipt of the transcript of

  the specific pages and lines of the transcript that should be treated as Classified Information

  thereafter. Each party shall attach a copy of each such written notice to the face of the transcript

  and each copy thereof in that party’s possession, custody, or control. All deposition transcripts

  shall be treated as For Counsel Only for a period of 30 days after initial receipt of the transcript.

         To the extent possible, the court reporter shall segregate into separate transcripts

  information designated as Classified Information with blank, consecutively numbered pages being

  provided in a non-designated main transcript. The separate transcript containing Classified

  Information shall have page numbers that correspond to the blank pages in the main transcript.

         Counsel for a party or a nonparty witness shall have the right to exclude from depositions

  any person who is not authorized to receive Classified Information pursuant to this Protective


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  Order, but such right of exclusion shall be applicable only during periods of examination or

  testimony during which Classified Information is being used or discussed.

         7.      Disclosure to Qualified Persons

         a.      To Whom. Classified Information shall not be disclosed or made available by the

  receiving party to persons other than Qualified Persons except as necessary to comply with

  applicable law or the valid order of a court of competent jurisdiction; provided, however, that in

  the event of a disclosure compelled by law or court order, the receiving party will so notify the

  producing party as promptly as practicable (if at all possible, prior to making such disclosure) and

  shall seek a protective order or confidential treatment of such information. Information designated

  as For Counsel Only shall be restricted in circulation to Qualified Persons described in

  subparagraph 2(a).

         b.      Retention of Copies During this Case. Copies of For Counsel Only information

  shall be maintained only in the offices of outside counsel for the receiving party and, to the extent

  supplied to experts described in subparagraph 2(a)(ii), in the offices of those experts. Any

  documents produced in this case, regardless of classification, that are provided to Qualified

  Persons shall be maintained only at the office of such Qualified Person and only necessary working

  copies of any such documents shall be made. Copies of documents and exhibits containing

  Classified Information may be prepared by independent copy services, printers, or illustrators for

  the purpose of this case.

         c.      Each party’s outside counsel shall maintain a log of all copies of For Counsel Only

  documents that are delivered to Qualified Persons.




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         8.      Unintentional Disclosures

         Documents unintentionally produced without designation as Classified Information later

  may be designated and shall be treated as Classified Information from the date written notice of

  the designation is provided to the receiving party.

         If a receiving party learns of any unauthorized disclosure of Confidential information or

  For Counsel Only information, the party shall immediately upon learning of such disclosure inform

  the producing party of all pertinent facts relating to such disclosure and shall make all reasonable

  efforts to prevent disclosure by each unauthorized person who received such information.

         9.      Documents Produced for Inspection Prior to Designation

         In the event documents are produced for inspection prior to designation, the documents

  shall be treated as For Counsel Only during inspection. At the time of copying for the receiving

  parties, Classified Information shall be marked prominently “Confidential,” “For Counsel Only,”

  or “Attorneys Eyes Only” by the producing party.

         10.     Consent to Disclosure and Use in Examination

         Nothing in this order shall prevent disclosure beyond the terms of this order if each party

  designating the information as Classified Information consents to such disclosure or if the court,

  after notice to all affected parties and nonparties, orders such disclosure. Nor shall anything in

  this order prevent any counsel of record from utilizing Classified Information in the examination

  or cross-examination of any person who is indicated on the document as being an author, source,

  or recipient of the Classified Information, irrespective of which party produced such information.

         11.     Challenging the Designation

         a.      Classified Information. A party shall not be obligated to challenge the propriety of

  a designation of Classified Information at the time such designation is made, and a failure to do so

  shall not preclude a subsequent challenge to the designation. In the event that any party to this case


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  disagrees at any stage of these proceedings with the designation of any information as Classified

  Information, the parties shall first try to resolve the dispute in good faith on an informal basis, such

  as by production of redacted copies. If the dispute cannot be resolved, the objecting party may

  invoke this Protective Order by objecting in writing to the party who designated the document or

  information as Classified Information. The designating party shall then have 14 days to move the

  court for an order preserving the designated status of the disputed information. The disputed

  information shall remain Classified Information unless and until the court orders otherwise.

  Failure to move for an order shall constitute a termination of the status of such item as Classified

  Information.

          b.      Qualified Persons. In the event that any party in good faith disagrees with the

  designation of a person as a Qualified Person or the disclosure of particular Classified Information

  to such person, the parties shall first try to resolve the dispute in good faith on an informal basis.

  If the dispute cannot be resolved, any party may seek a determination by this Court as to the

  propriety of the disputed designation, including on an emergency basis. The objecting person shall

  have the burden of demonstrating that disclosure to the disputed person would expose the objecting

  party to the risk of serious harm. Upon the timely filing of such a motion, no disclosure of

  Classified Information shall be made to the disputed person unless and until the court enters an

  order preserving the designation.

          12.     Manner of Use in Proceedings

          In the event a party wishes to use any Classified Information in affidavits, declarations,

  briefs, memoranda of law, or other papers filed in this case, the party shall do one of the following:

  (1) with the consent of the producing party, file only a redacted copy of the information; (2) where

  appropriate (e.g., in connection with discovery and evidentiary motions) provide the information

  solely for in camera review; or (3) file such information under seal with the court consistent with


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  the sealing requirements of the court. See Local Rule 9018. This Protective Order hereby

  authorizes such filings under seal in accordance with Local Rule of Bankruptcy Procedure 9018

  without the need for a separate motion seeking such authorization. Parties filing pleadings

  redacting Classified Information or containing Classified Information under seal may reference

  this Protective Order in the pleading in lieu of filing a separate motion.

         13.     Filing Under Seal

         Upon entry of an order granting a motion to seal documents, or the filing of any sealed

  motion or other sealed document pursuant to this Protective Order, the clerk of this court is directed

  to maintain under seal all documents, transcripts of deposition testimony, answers to

  interrogatories, admissions, and other papers filed under seal in this case that have been designated,

  in whole or in part, as Classified Information by any party to this case consistent with the sealing

  requirements of the court. See Local Rule 9018.

         14.     Return of Documents

         Not later than 120 days after conclusion of this case and any appeal(s) related to it, any

  Classified Information, all reproductions of such information, and any notes, summaries, or

  descriptions of such information in the possession of any of the persons specified in paragraph 2

  (except subparagraph 2(a)(iii)) shall be returned to the producing party or destroyed, except as this

  court may otherwise order or to the extent such information has been used as evidence at any trial

  or hearing. Notwithstanding this obligation to return or destroy information, counsel may retain

  attorney work product, including document indices, so long as that work product does not duplicate

  verbatim substantial portions of the text of any Classified Information.

         15.     Ongoing Obligations

         Insofar as the provisions of this Protective Order, or any other protective orders entered in

  this case, restrict the communication and use of the information protected by it, such provisions


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  shall continue to be binding after the conclusion of this case, except that (a) there shall be no

  restriction on documents that are used as exhibits in open court unless such exhibits were filed

  under seal, and (b) a party may seek the written permission of the producing party or order of the

  court with respect to dissolution or modification of this, or any other, protective order.

         16.     Advice to Clients

         This order shall not bar any attorney in the course of rendering advice to such attorney’s

  client with respect to this case from conveying to any party client the attorney’s evaluation in a

  general way of Classified Information produced or exchanged under the terms of this order;

  provided, however, that in rendering such advice and otherwise communicating with the client,

  the attorney shall not disclose the specific contents of any Classified Information produced by

  another party if such disclosure would be contrary to the terms of this Protective Order.

         17.     Duty to Ensure Compliance

         Any party designating any person as a Qualified Person shall have the duty to reasonably

  ensure that such person observes the terms of this Protective Order and shall be responsible upon

  breach of such duty for the failure of such person to observe the terms of this Protective Order.

         18.     Waiver

         Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor work

  product protection is waived by disclosure connected with this case.

         19.     Modification and Exceptions

         The parties may, by stipulation, provide for exceptions to this order and any party may seek

  an order of this court modifying this Protective Order.

         20.     No Intention to Modify Section 107 of the Bankruptcy Code

         For the avoidance of doubt, nothing in this order is intended to limit or contradict the scope

  of disclosure required by 11 U.S.C. § 107, and the Court may at any point take such steps to ensure


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  compliance with that section as it deems necessary, either upon its sua sponte consideration or

  upon the request of any entity.

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